Case 2:18-cv-02814-ROS--MHB Document 1-1 Filed 09/07/18 Page 1of1

V7 B01Y29
MARICOPA COUNTY SHERIFF’S OFFICE
INMATE LEGAL SERVICES
LOWER BUCKEYE JAIL
3250 WEST LOWER BUCKEYE ROAD
PHOENIX, AZ 85009

Am

wats
: aw
a

Parte
a

U.S. District Court Clerk
U.S. Courthouse, Suite 130
401 W. Washington Street, SPC 10
Phoenix, AZ 85003

 

 

 

 

re ee “Ee cee US.P

~ se " a ec Ge
ee cea: ZIP B

ect r 02 1
urtotcreenics 0001
